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       District 5

    Population Statistics                      Ethnicity                    Voter Statistics

Town of Alden                   10,865   White                  80,364   Registered Voters     56,676
Town of Aurora                  13,782   % White               96.22%
Town of Colden                   3,265   Black                   1,496   Democrats             18,154
Town of Elma                    11,317   % Black                1.79%    Republicans           22,989
Town of Holland                  3,401   American Indian           180   Conservatives          1,677
Town of Lancaster                  730   % American Indian      0.22%    Working Families         223
Town of Marilla                  5,327   Asian                     614   Independence           2,922
Town of Orchard Park            29,054   % Asian                0.74%    Green                    149
Town of Sardinia                 2,775                                   Other                    558
Town of Wales                    3,005   Hispanic Origin         1,111   Blank                 10,004
                                         % Hispanic Origin      1.33%
Total Population                83,521                                   Male                  27,125
Deviation                          -28   Black 18+               1,368   Female                29,551
% Deviation                    0.00033   % Black 18+            2.10%
                                         Hispanic Origin 18+       735   Age 18 - 24            4,421
Age 18+                         65,191   % Hispanic 18+         1.12%    Age 25 - 34            6,394
                                                                         Age 35 - 40            4,568
                                                                         Age 41 - 45            5,242
                                                                         Age 46 - 54           11,733
                                                                         Age 55 - 61            8,109
                                                                         Age 62+               16,209

                                                                         Federal Voters          116
                                                                         Military Voters         114
                                                                         Disabled                562
                                                                         Nursing Home            171

                                                                         Voted 2007 Election   26,281
                                                                         Voted 2009 Election   20,365
